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FOR THE EASTERN DISTRICT OF TEXAS 0 microngqu 1
LUFKIN DIVIsIoN CT 2 3 2006 5
. By - DAVIDJ D
INTERNATIONAL BUSINESS ) Dspun, 'CLERK
MACHINES CORP()RATION, )
) C? ‘
Plaintiff, ) Civil Action No. L O(O C [/
)
v. )
)
AMAZON.CGM, INC., ) JURY TRIAL DEMANDED
)
Defendant.

ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

Plaintiff International Business Machines Corporation (“IBM”), for its Original
Complaint for Patent Infringement against Defendant Amazon.corn, Inc. (“Amazon”), alleges as
follows:

INTRODUCTION

l. IBM is a world leader in technology and innovation. IBM spends billions of
dollars each year on research and development, and these efforts have resulted in the issuance of
more than 40,000 patents worldwide. Patents enjoy the same fundamental protections as real
property. IBM, like any property owner, is entitled to insist that others respect its property and to
demand payment from those who take IBM’s property for their own use. Despite this
rudimentary principle, Amazon has built its business model on the use of IBM’s patents,
knowing its business was covered by and infringing lBM’s patents. Amazon, moreover, has
ignored IBM's repeated demands that Arnazon either pay for the use of lBl\./I’s property or stop
taking the property for Arnazon’s own use. lndeed, after four years of stonewalling, Amazon’s
intent is clear-»Amazon would rather take IBM’s property unlawfully than pay for its use. This

lawsuit seeks to stop Arnazon’s taking of IBM’s property without payment

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NATURE OF THE CASE
2. This action arises under 35 U.S.C. § 27l for Amazon’s infringement of one or
more of IBM’s United States Patent Nos. 5,442,771; 5,796,967; and 7, 072,849 (collectively, the
“Patents in Suit”).

THE PARTIES

3. Plaintiff IBM is a New York corporation, with its principal place of business at
New Orchard Road, Armonk, New York 10504.

4. Defendant Amazon.com, lnc. is a Delaware corporation with its principal place of
business at 1200 12th Avenue, Suite 1200, Seattle, Washington 98144. Amazon does business
through the Web site www.amazon.com. Amazon may be served through its registered agent for
service, CT Corporation System, 350 North St. Paul St., Dallas, TX 75201.

JURISDICTION AND VENUE

5. This action arises under the patent laws of the United States, Title 35, United
States Code. The jurisdiction of this Court over the subject matter of this action is proper under
28 U.S.C. §§ 1331 and l338(a)s

6. Venue is proper in this Court pursuant to 28 U.S.C. §§ l391(b) and (c) and
1400(b).

7. Personal jurisdiction exists over Amazon because it does business in Texas and in
this District, and infringement has occurred and continues to occur in Texas and in this District.

FACTUAL BACKGROUND

A. IBM Is A Recognized Innovator

8. IBM is recognized throughout the world as a pioneer in many aspects of science
and technology. On eight occasions, more times than any other company or organization, IBM

has been awarded the U.S. National Medal of Technology, the nation’s highest award for

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technological innovation. During IBM’s near 100-year history, IBM’s employees have included
five Nobel laureates, five national Medal of Science recipients, and at least nine inventors in the
National Inventors Hall of Fame.

9. These and other IBM employees have introduced the world to technology that the
global community takes for granted today, including the dynamic random access memory-
DRAMs_found in nearly all modern computers; magnetic disk storage--hard disk drives-
found in computers and portable music players; and some of the world’s most powerful
supercomputers, including Deep Blue, the first computer to beat a reigning chess champion and
which is on display at the Smithsonian’s National Museum of American History in Washington,
D.C. IBM’s commitment to developing these types of advanced computing technologies has

helped to usher in the information age and create the e-business revolution.

B. IBM Is Committed To Protecting Its Innovations Through the Patent System

lO. IBM’s research and development operations differentiate IBM from many other
companies IBM annually spends billions of dollars for research and development ln addition
to yielding inventions that have literally changed the way in which the world works, IBM’s
research and development efforts have resulted in more than 40,000 patents worldwide. For over
a decade the United States Patent and Trademark ()ffice has issued more patents to IBM than to
any other company in the world.

ll. Like the research upon which the patents are based, IBM’s patents also benefit
society. Indeed, the Supreme Court has recognized that the patent system encourages both the
creation and the disclosure of new and useful advances in technology Such disclosure, in turn,
permits society to innovate further. And, as the Court has further recognized, as a reward for

committing resources to innovation and for disclosing that innovation, the patent system

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provides patent owners with the exclusive right to prevent others from practicing the claimed

invention for a limited period of time.

C. IBM Routinely Licenses Its Patents In Many Fieldsa But Will Enforce Its Rights
Against Those Who Take Its Propeg_'_ty Unlawfully_

12. IBM’s commitment to creating a large patent portfolio underscores the value that
IBM places in the exchange of innovation, and disclosure of that innovation, in return for limited
exclusivity. Indeed, IBM has used its patent portfolio to generate revenue and other significant
value for the company by executing patent cross-license agreements The revenue generated
through patent licensing enables IBM to continue to commit resources to innovation, Cross-
licensing, in turn, provides IBM with the freedom to innovate and operate in a manner that
respects the technology of others.

13. Given the investment IBM makes in the development of new technologies and the
management of its patent portfolio, IBM and its shareholders expect companies to act
responsibly with respect to IBM’s patents. IBM facilitates this by routinely licensing its patents
in many fields and by working with companies that wish to use IBM’s technology in those fields
in which IBM grants licenses When a company takes IBM’s property and refuses to pay IBM

for the use of its property, IBM has no choice but to seek judicial assistance.

D. Amazon Has Built Its Business By Infringing IBM’s Patents.

14. Amazon is well known as an online retailer and provider of e-commerce solutions
and services to other businesses Amazon has grown rapidly and is now a Fortune 500 company,
with billions of dollars in revenues each year.

15. Rather than build its business on its own technologies, Amazon has relied on

IBM’s innovations, unlawfully taking and using them for its business For example, in the mid-

1980’s, lBl\./l, in conjunction with CBS and Sears, founded a company called 'l`rintexj with the

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idea of developing a nationwide transaction and information network accessible through personal
computers Trintex, later renamed Prodigy, was one of the earliest on-line services targeted to a
mass audience. Prodigy provided users with on-line services including news, weather, sports,
games, shopping, and airline reservations As a result of its contributions to Prodigy, IBM
received a family of patents based on the resulting Prodigy architecture and technology.

16. For the past four years, IBM has patiently tried to work with Amazon in an effort
to secure a licensing agreement IBM made repeated trips to Amazon’s facilities and presented
detailed examples to Amazon of its infringement of IBM’s patents.

l7. While pretending to desire resolution, Amazon has refused to engage in any
meaningful discussion on the merits, resorting instead to foot-dragging, posturing and non-
responsive excuses. Throughout, Amazon has continued willfully to infringe IBM’s patents so
as to obtain the significant benefits of IBM’s innovations without paying any compensation to
IBM.

18. Because IBM’s four-year struggle to negotiate a licensing agreement that would
remedy Amazon’ s unlale conduct has failed, IBM has been forced to seek relief through
litigation. Among other relief sought, IBM is entitled to royalties on the billions of dollars in
revenue that Amazon has received based on its unlawful infringement of IBM’s patented
technology.

E. Snecificallv. Amazon Has Willfully Infringed IBM’s Prodigy Patents.

(i) United States Patent No. 5,442,771

19. As its title suggests, United States Patent No. 5,442,771, entitled “Method for
Storing Data in an Interactive Cornputer Networ ” (“the ’771 patent”), generally relates to a
method of storing data in an interactive network. The network includes a multiplicity of user

reception systems at which users can request applications during user sessions. As exemplified

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by its specification, the ’77l patent teaches steps for establishing data stores within an interactive
network and using the stored data to generate applications during the user sessions The method
features steps, among others, for associating storage control parameters with the data to be
stored.

20. Amazon has infringed and continues to infringe, in this district and elsewhere, on
IBM’s rights in the ’77l patent. For example, Amazon performs the method taught and claimed
by the ’77l patent by, among other activities, doing business through an interactive network that
allows users to request applications during their sessions and implementing storage control
parameters associated with data to be stored within the network.

(ii) United States Patent No. 5,796,967

2l. United States Patent No. 5 ,796,967 (“the ’967 patent”) generally relates to a
method for presenting applications on a network, where the network includes a multiplicity of
user reception systems at which users may request a multiplicity of available applications The
network presents the requested applications at the user reception systems as one or more screens
of display. As exemplified by its specification, the ’967 patent teaches steps for generating the
application displays including a plurality of partitions. In accordance with the method, there is
generated a first partition for presenting applications and a second partition for presenting a
plurality of command functions The command functions include at least a first group that are
selectable to permit movement between applications

22. Amazon has infringed and continues to infringe, in this district and elsewhere, on
IBM’s rights in the ’967 patent For example, Amazon performs the method taught and claimed
by the ’967 patent by, among other activities, presenting applications using partitioned displays

that include at least one partition for presenting applications and a second partition for presenting

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a plurality of command functions that include at least a first group that are selectable to permit
movement between applications

(iii) United States Patent No. 7,072,849

23. United States Patent No. 7,072,849, entitled “Method for Presenting Advertising
in an lnteractive Service” (“the ’849 patent”), generally relates to a method for presenting
advertising in a computer network that includes a multiplicity of user reception systems at which
users can request applications The network presents the requested applications at the user
reception systems as one or more screens of display. As exemplified by its abstract, the ’849
patent teaches steps for presenting advertising concurrently with applications at the reception
system. The steps include, for instance, structuring the advertising in a manner compatible to the
applications which enables the applications to be presented at a first portion of a display and the
advertising to be presented at a second portion of the display. As further illustrated in the ’849
patent, steps are provided for storing and managing advertising at the user reception system.
Additionally, the ’849 patent teaches steps for individualizing the advertising by compiling data
concerning respective users and establishing characterizations for respective users based on the
compiled data.

24. Amazon has infringed and continues to infringe, in this district and elsewhere, on
IBM’s rights in the ’849 patent. For example, Amazon performs the method taught and claimed
by the ’849 patent by, among other activities, presenting applications at a first portion of a
display and presenting advertising at a second portion of the display, and by selectively storing
advertising objects at a store established at the reception system. Additionally, Amazon
individualizes the advertising based on data compiled concerning respective users and

establishing characterizations for respective users based on the compiled data.

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COUNT ()NE
INFRINGEMENT OF THE ’771 PATENT

25. IBM is the owner of all right, title and interest in the ’77l patent. The ’77l patent
was duly and properly issued by the United States Patent and Trademark Office (“USPTO”) on
August 15, 1995. The ’77l patent is in IBM’s Prodigy family of patents and was duly assigned
to IBM. A copy of the ’77l patent is attached hereto as Exhibit A.

26. In violation of 35 U.S.C. § 271, Amazon has infringed and continues to infringe,
in this district and elsewhere, the ‘77l patent by: (a) making, using, offering for sale or selling
within the United States, or by importing into the United States, products or processes that
practice inventions claimed in this patent; (b) inducing others to make, use, offer for sale or sell
within the United States, or import into the United States, products or processes that practice
inventions claimed in this patent; and/or (c) contributing to the making, using, offering for sale
or selling within the United States, or importing into the United States, products or processes that
practice inventions claimed in this patent

27. IBM has been damaged by the infringement of the ’77l patent by Amazon and
will continue to be damaged by such infringement IBM is entitled to recover from Amazon the
damages sustained by IBM as a result of Amazon’s wrongful acts

28. The continued infringement by Amazon of the ’77l patent is deliberate and
willful, entitling IBM to increased damages under 35 U.S.C. § 284 and to attorney fees and costs
incurred in prosecuting this action under 35 U.S.C. § 285.

29. IBM has suffered and continues to suffer irreparable harm, for which there is no
adequate remedy at law, and will continue to do so unless Amazon is enjoined therefrom by this

Court.

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COUNT TWO
INFRINGEMENT OF THE ’967 PATENT

30. IBM is the owner of all right, title and interest in the ’967 patent. The ’967 patent
was duly and properly issued by the USPTO on August 18, 1995. The ’967 patent is in IBM’s
Prodigy family of patents and was duly assigned to IBM. A copy of the ’967 patent is attached
hereto as Exhibit B.

31. In violation of 35 U.S.C. § 271, Amazon has infringed and continues to infringe,
in this district and elsewhere, the ’967 patent by: (a) making, using, offering for sale or selling
within the United States, or by importing into the United States, products or processes that
practice inventions claimed in this patent; (b) inducing others to make, use, offer for sale or sell
within the United States, or import into the United States products or processes that practice
inventions claimed in this patent; and/or (c) contributing to the making, using, offering for sale
or selling within the United States, or importing into the United States, products or processes that
practice inventions claimed in this patent

32. IBM has been damaged by the infringement of its ’967 patent by Amazon and
will continue to be damaged by such infringement IBM is entitled to recover from Amazon the
damages sustained by IBM as a result of Amazon’s wrongful acts

33. The continued infringement by Amazon of the ’967 patent is deliberate and
willful, entitling IBM to increased damages under 35 U.S.C. § 284 and to attorney fees and costs
incurred in prosecuting this action under 35 U.S.C. § 285 .

34. IBM has suffered and continues to suffer irreparable harm, for which there is no
adequate remedy at law, and will continue to do so unless Amazon is enjoined therefrom by this

Court.

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COUNT THREE
INFRINGEMENT GF THE ’849 PATENT

35. IBM is the owner of all right, title and interest in the ’849 patent The ’849 patent
was duly and properly issued by the USPTO on July 4, 2006. The ’849 patent is in IBM’s
Prodigy family of patents and was duly assigned to IBM. A copy of the ’849 patent is attached
hereto as Exhibit C.

36. ln violation of 35 U.S.C. § 271, Amazon has infringed and continues to infringe,
in this district and elsewhere, the ’849 patent by: (a) making, using, offering for sale or selling
within the United States, or by importing into the United States, products or processes that
practice inventions claimed in this patent; (b) inducing others to make, use, offer for sale or sell
within the United States, or import into the United States, products or processes that practice
inventions claimed in this patent; and/or (c) contributing to the making, using, offering for sale
or selling within the United States, or importing into the United States, products or processes that
practice inventions claimed in this patent.

37. IBM has been damaged by the infringement of its ’849 patent by Amazon and
will continue to be damaged by such infringement IBM is entitled to recover from Amazon the
damages sustained by IBM as a result of Amazon’s wrongful acts

38. The continued infringement by Amazon of the ’849 patent is deliberate and
willful, entitling IBM to increased damages under 35 U.S.C. § 284 and to attorney fees and costs
incurred in prosecuting this action under 35 U.S.C. § 285.

39. IBM has suffered and continues to suffer irreparable harm, for which there is no
adequate remedy at law, and will continue to do so unless Amazon is enjoined therefrom by this

Court.

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RELIEF REQUESTED
Wherefore, Plaintiff IBM respectfully requests that this Court enter judgment against

Defendant Amazon as follows:

A. That each of the Patents in Suit is valid and enforceable;

B. That each of the Patents in Suit has been infringed by Amazon;

C. That infringement of the Patents in Suit by Amazon has been willful;

D. An injunction against further infringement of the Patents in Suit by Amazon;

E. An award of damages adequate to compensate IBM for the patent infringement that has

occurred, together with pre-judgment interest and costs;

F. An award of all other damages permitted by 35 U.S.C. § 284, including increased
damages up to three times the amount of compensatory damages found;

G. That this is an exceptional case and an award to IBM of its costs and reasonable
attorneys’ fees incurred in this action as provided by 35 U.S.C. § 285; and

H. Such other relief as this Court deems just and proper.

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Respectfully submitted

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October 23, 2006

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